Case 1:03-cV-01025-.]DB-tmp Document 48 Filed 06/09/05 Page 1 of 3 Page|D 80

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UNITED sTATEs I)ISTRICT COURT
WESTERN DISTRICT 0F TENNESSEE 95 JUH _g PH t.,= 35

EASTERN DIVISION

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T , 3 3 eis . .

T 0 AY MURPHY’ § W.D.: 533 n\i, estimates
Plaintiff, )
)

vs. ) Civil Action No.: 1:03-1025 JDB-tmp

)
CORRECTIONS CORPORATION )
OF AMERICA, et al,. )
)
Defeudants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

It appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures Of counsel for all parties beloW, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conferenee on June 24, 2005.

Dar@d;this fl dayof dowd ,2005.

-J-BarNiEb-BRB-EN -r; m F],, q m
UNITED sTATEs~DLsrr-m€-'s JUDGE

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Thls document entered cri the docket.sbeeti com Fiance
with Hu|e 58 and/or 79(3) FRCP en §Q "A 511

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
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Honorable .1. Breen
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